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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   DAWRENCE W. RICE, JR.
     STANLEY A. BOONE
 3   Assistant U.S. Attorneys
     Suite 4401, Federal Courthouse
 4   2500 Tulare Street
     Fresno, California 93721
 5   Telephone: (559) 497-4000

 6   RYAN FAYHEE
     Trial Attorney
 7   National Security Division
     Department of Justice
 8   Washington D.C. 20005

 9

10              IN THE UNITED STATES DISTRICT COURT FOR THE

11                       EASTERN DISTRICT OF CALIFORNIA

12

13   UNITED STATES OF AMERICA,      )         1:10-cr-00269 AWI
                                    )
14                  Plaintiff,      )
                                    )         STIPULATION AND ORDER
15        v.                        )         CONTINUING STATUS CONFERENCE
                                    )         FROM OCTOBER 4, 2010, TO
16   GWC VALVE INTERNATIONAL, INC., )         DECEMBER 6, 2010.
     dba GWC Valve Europe,          )
17   GWC Valve Middle East FZC;     )
     and DAVID BRIAN MEADOR,        )
18                                  )
                    Defendants.     )
19                                  )

20

21        The United States of America, by and through Benjamin B.

22   Wagner, United States Attorney for the Eastern District of

23   California, Dawrence W. Rice, Jr. And Stanley A. Boone, Assistant

24   U.S. Attorneys, and Ryan Fayhee, Trial Attorney, National Security

25   Division, U.S. Department of Justice, and defendants GWC Valve

26   International, Inc. and David Brian Meador, by and through their

27   counsel, Francis J. Burke, Jr., Esq., Steptoe & Johnson LLP,

28   hereby STIPULATE and AGREE that the status conference regarding

                                          1
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 1   sentencing, currently scheduled for October 4, 2010, at 1:30 p.m.,

 2   be continued to December 6, 2010, at 1:30 p.m.

 3   DATED: September 30, 2010                 Respectfully submitted,

 4                                             BENJAMIN B. WAGNER
                                               United States Attorney
 5
                                               By /s/Dawrence W. Rice, Jr.
 6                                               DAWRENCE W. RICE, JR.
                                               Assistant U.S. Attorney
 7
                                               By /s/Stanley A. Boone
 8                                               STANLEY A. BOONE
                                               Assistant U.S. Attorney
 9
                                               By /s/ Ryan Fayhee
10                                               RYAN FAYHEE
                                               Trial Attorney
11                                             National Security Division
                                               U.S. Department of Justice
12

13   DATED: September 30, 2010                  /s/ Francis J. Burke
                                               FRANCIS J. BURKE, ESQ.
14                                             STEPTOE & JOHNSON LLP
                                               Counsel for Defendants
15

16                                     ORDER

17        IT IS ORDERED that the status conference regarding

18   sentencing, currently scheduled for October 4, 2010, at 1:30 p.m.,

19   be continued to December 6, 2010, at 1:30 p.m.

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21   IT IS SO ORDERED.
22
     Dated:      September 30, 2010
23   0m8i78                     CHIEF UNITED STATES DISTRICT JUDGE
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